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UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION
IN RE:
Tammy L. Tucker, Case No. 3:18-bk-03086-JAF

Debtor.
/

APPLICATION FOR ORDER AUTHORIZING EMPLOYMENT OF
NAJI HASSAN OF 7 STAR REALTY, INC. AS REALTOR FOR THE ESTATE

The Trustee, Robert Altman, applies for an Order authorizing the employment of Naji
Hassan of 7 Star Realty, lnc. as realtor of this estate and would show:

l. The estate owns real estate located in Pawtucket, Rhode Island, known as 419 Armistice Blvd.,
Pawtucket, RI, with an estimated value of $213,181.00 pursuant to Schedules. There are two mortgages
against the property, one owed to Bank ofNY Mellon with an approximate balance owed of $163,453.55,
pursuant to the Motion for Relief Froln Stay filed September ll, 2018 [Doc. No. 7], and another mortgage
held by Bayview Financial Loans with an approximate balance owed of $29,180.00, pursuant to Schedule
D.

2. The Trustee desires to employ Naji Hassan of 7 Star Realty, lnc. to sell the property.

3. After reviewing the facts and issues in this case, the Trustee has concluded that the assistance of
a real estate agency is necessary to enable the Trustee to discharge the Trustee’s statutory duties.

4. The Trustee has selected this real estate agency because they have the ability and experience to
render the necessary assistance The real estate agency has further agreed to seek compensation at their

standard rates subject to the approval of the Court pursuant to Section 330 of the Bankruptcy Code.

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5. To the best of the Trustee’s knowledge, the real estate agency has no connection with the debtors’
creditors, any other party in interest, their respective attorneys and accountants, the United States Trustee,
or any person employed in the office of the United States Trustee and is thus disinterested within the meaning
of ll U.S.C. §lOl(l4).

DATED; september ¢"Z'Z` ,2018.

Robert Altman, P.A.

/S/ Robert Altman

Robert Altman, Trustee
Florida Bar N0. 346861
P.O. Box 922

Palatka, Florida 32178-0922
(386) 325-4691

(386) 256-1423 (fax)

CERTIFICATE OF SERVICE

l HEREBY CERTIFY that a copy of the foregoing Trustee’s Application for Order
Authorizing Employment ofNaji Hassan of 7 Star Realty, Inc. as Realtor for the Estate has been furnished
to Tammy L. Tucker, 3329 NE 29th Ave., Ocala, FL 34479, and to Damien Aranguren, Esquire, ll9 West
Fort King Street, Ocala, FL 3447l by U.S. Mail, first class, postage prepaid or electronic filing CM/ECF,
this /`B_h~day of September, 2018.

/S/ Robert Altman
Robert Altman, Trustee

